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Counsel to the Official Committee of Unsecured Creditors


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                       )
In re:                                                 ) Chapter 11
                                                       )
THE ROMAN CATHOLIC DIOCESE OF                          ) Case No. 20-12345 (MG)
ROCKVILLE CENTRE, NEW YORK,                            )
                                                       )
Debtor.                                                )
                                                       )



 DECLARATION OF ALAN J. KORNFELD, ESQ. IN SUPPORT OF MOTION OF THE
  OFFICIAL COMMITTEE OF UNSECURED CREDITORS TO EXCLUDE CERTAIN
    DIRECT TESTIMONY AND EVIDENCE OFFERED BY OR THROUGH THE
 DIOCESE’S TESTIFYING EXPERT IN CONNECTION WITH THE COMMITTEE’S
     MOTION TO DISMISS THE CHAPTER 11 CASE AND CORRESPONDING
            EVIDENTIARY OBJECTIONS AND MOTION TO STRIKE


         Pursuant to 28 U.S.C. § 1746, I, Alan J. Kornfeld, hereby submit this declaration (the

“Declaration”) under penalty of perjury:

         1.      I am a partner with the law firm of Pachulski Stang Ziehl & Jones LLP (“PSZJ”)

with an office at 780 Third Avenue, 36th Floor, New York, NY 10017. I am duly admitted to




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practice law in the Second, Third and Ninth Circuits and each United States District Court of

New York and California.

        2.       I have personal knowledge of the facts set forth herein. If called as a witness, I

would testify as to those facts.

        3.       I submit this Declaration in support of the Motion of the Official Committee of

Unsecured Creditors to Exclude Certain Direct Testimony and Evidence Offered By or Through

the Diocese’s Testifying Expert in Connection With the Committee’s Motion to Dismiss the

Chapter 11 Case and Corresponding Evidentiary Objections and Motion to Strike (the

“Motion”).

        4.       Attached as Exhibit A to this Declaration is a true and correct copy of the June 27,

2023 deposition transcript of Charles Moore (the “Moore Deposition Transcript”), marked to

reflect the references to the Moore Deposition Transcript in the Motion.

        5.       Attached as Exhibit B to this Declaration is a true and correct copy of Exhibit 1 to

the Moore Deposition Transcript.

        6.       Attached as Exhibit C to this Declaration is a true and correct copy of Exhibit 2 to

the Moore Deposition Transcript.

        I declare under penalty of perjury that the foregoing is true and correct. I executed this

Declaration on July 5, 2023 at Los Angeles, California.


                                                By: /s/ Alan J. Kornfeld
                                                Alan J. Kornfeld




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